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 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                               CASE NO. S-96-00350-WBS
12
                                    Plaintiff,               ORDER GRANTING GOVERNMENT’S
13                                                           REQUEST FOR AN EXTENSION OF TIME TO
                             v.                              RESPOND TO COURT’S ORDER TO SHOW
14                                                           CAUSE
     PING SHERRY CHAN,
15
                                    Defendant.
16

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            Good cause having been shown, IT IS HEREBY ORDERED that the Government's request for
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     an extension of time to respond to the Court’s Order to Show Cause IS GRANTED. The government
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     shall file its response no later than April 19, 2014.
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     Dated: February 21, 2014
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      [PROPOSED] ORDER GRANTING EXTENSION OF TIME            1
